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{_-_H-;" im r_'_"}.‘ §§ l:*.(./

lN THE UNITED STATES DISTRICT COURT

 

FOR TI-IE WESTERN DISTRICT OF TENNESSE@S *'§‘; - iii o ~ 536
EASTERN DIVISION
JAMIE HAMILTON, and wife,
BONNIE HAMILTON,
Plaintiffs,
v. NO. 1:97_1261-13 /

GARY MYERS, as Executive Director
of the Tennessee Wildlife Resources
Agency, et al.,

Det"endants.
GARY ARNETT, SHELLY ARNETT, and
JOHN PAUL ARNETT, by next friend,
GARY ARNETT,

Plaintiffs,
v.
GARY MYERS, as Executive Director
of the Tennessee Wildlife Resources

Agency, et al.,

Defendants.

No. l:97-1263-B

 

ORDER AFFIRMING DECISION OF THE MAGISTRATE JUDGE

 

Bet`ore the Court is the motion ofthe Defendants to amend their answers with respect to civil

actions l\lo. l :97-1261 and No. 1197-l 263, currently partially consolidated for trial The motion was

referred to Magistrate Judge S. Thomas Anderson who entered an order on l\/larch l, 2005 denyi n g

the inotion. Following entry ofthe order, objections were filed by the Defendants to which the

Plaintiffs have responded Upon a review of all of the relevant pleadings, the Court concludes that

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With Ru?e 58 and/or 79{a} FRCP on

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the magistrate j udge‘s findings were neither clearly erroneous nor contrary to law. §§ Fed. R. Civ.
P. 72(a); LR72,l(g)(l), Local Rules ofthe U.S. Dist. Ct. for the W. Dist. ofTenn (“L.ocal Rules").

In these cases, Plaintiffs seek ajudicial declaration of, and an injunction protecting, their
alleged exclusive riparian rights to land now submerged under Reelt"oot Lake. Defendaiits sought
to amend their answers to include additional affirmative defenses, arguing that the Plaintiffs had
developed new theories after conducting discovery in this case. Specifically, Defendants assert that
Plaintiffs initially based their ownership claims on a theory that the lake level had risen as evidenced
by several Tennessee Dep artment of Transportation highway plans. (Appeal Order Magistrate J ud ge
Denying Defs.’ Mot. Amend Answer at 4.) According to the Defendants, after conducting
depositions of experts, Plaintiffs ‘“developed a new theory that the State of Tennessee raised the
Water level of Reelfoot Lake between 1913 and 1919.” The Defendants sought to amend their
answers to assert that such a claim is barred by the applicable statute of limitations, laches, and the
doctrine of equitable estoppel. (Appeal Order Magistrate Judge Denying Defs.’ l\/Iot. Amend
Answer at 4.) The magistrate judge determined that the Plaintit`fs were not asserting new claims
based on the fact that Plaintiffs have not amended their complaints in almost six years and, as the
Sixth Circuit noted when a prior ruling ofChiefJudge James D. Todd was appealed, the low water
mark in 1913 has always been an issue in this action. E Hamilton v. Myers, 281 F.3d 520, 530
(6th Cir. 2002) (“[T]he key determinant of whether the Hamiltons have protected riparian rights is
the location of the 1913 low water mark on Reelfoot Lal<e.”). Additionally, Judge Anderson found
that the Plaintiffs would be prejudiced byhaving to expend additional resources to conduct discovery

and prepare for trial which is currently set for .lune 13, 2005.

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This Court is not persuaded that the magistrate judge’s determination is clearly erroneous or
contrary to law. g Fed. R. Civ. P. 72(a). Although Defendants claim that J ud ge Anderson abused
his discretion in denying their motion on the potential delay, it is clear that he also determined that
Plaintiffs would be prejudiced by having to expend more resources to rebut the additional defenses
As J ud ge Anderson correctly noted, “{l]eave to amend may be denied when it would result in undue
delay [or] prejudice to the opposing party.” §e_e Phelps v. McClellan, 30 F.Bd 658, 662 (6th Cir.
1994] (citing Forman v. Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 230, 9 L.Ed.ld 222 (l‘)()j)).
Prej udice exists when the amendment requires the opponent to incur additional expense to conduct
discovery and prepare for trial or significantly delays the resolution ofthe dispute §ee id at 663.

Moreover, although delay should not be the only reason for denying an amendment, see Wade v.

 

Knoxville Utilities Board, 259 F.3d 452, 458 (6th Cir. 2001), these cases have been pending in this

 

Court for over seven years and postponing resolution of them certainly works some hardship on the
Plaintiffs. Finally, this Court is not convinced that Plaintiffs are asserting any“new theory” because
the water level of Reelfoot Lake has always been central to the Plaintiffs’ claims for relief §e§
l-Iamilton, 281 F.3d at 530. Accordingly, the Defendants’ objections are OVERRULED and the
magistrate judge's order is AFF]RMED.

IT IS SO ORDERED this f\day ofMay, 2005.

 
 
   

 

J. D NIEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 165 in
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Honorable .l. Breen
US DISTRICT COURT

